Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page1of19
Customer INV# Date Due Date Currency| Subtotal| Total | Balance
Block Bits Capital INV-3298 1/12/2018 1/22/2018] usd 850,000} 850,000 0
Douglas C Johnson INV-0005 10/17/2017 10/27/2017 |usd 500 500 0
Japheth Dillman INV-0002 10/17/2017 10/27/2017|usd 100 100 0
HQ Tran INV-0001 10/17/2017 10/27/2017]|usd 100 100 0
Neil sunkin INV-0008 10/18/2017 10/28/2017]|usd 100 100 0
Neil sunkin INV-0019 10/20/2017 10/30/2017] usd 100 100 0
Michael Hogue INV-0018 10/20/2017 10/30/2017]|usd 250 250 0
Jack R Maple INV-0016 10/20/2017 10/30/2017]|usd 200 200 0
Jack R Maple INV-0015 10/20/2017 10/30/2017] usd 100 100 0
Leslie Katz INV-0028 10/22/2017 11/1/2017|usd 500 500 0
David K Brog INV-0027 10/22/2017 11/1/2017|usd 2500 2500 0
Robert Ehlbeck INV-0026 10/22/2017 11/1/2017 }usd 5000 5000 0
vinod narwal INV-0030 10/23/2017 11/2/2017} usd 400 400 0
John Laera INV-0043 10/24/2017 11/3/2017|usd 500 500 0
Matthew Richardson INV-0041 10/24/2017 11/3/2017 |usd 5000 5000 0
Sarah Schnepf INV-0038 10/24/2017 11/3/2017 }usd 45000 45000 0
Ronald Rocca INV-0052 10/25/2017 11/4/2017 }usd 3050 3050 0
Barbara A Jones INV-0048 10/25/2017 11/4/2017|usd 1000 1000 0
Michael Obebeduo INV-0071 10/28/2017 11/7/2017|usd 700 700 0
Srinivas Mylavarapu INV-0076 10/29/2017 11/8/2017 }usd 200 200 0
Bradley Goble INV-0074 10/29/2017 11/8/2017 |usd 1000 1000 0
Justin Nephew INV-0081 11/1/2017 11/11/2017 ]|usd 30 30 0
Thomas harries INV-0089 11/2/2017 11/12/2017]usd 100 100 0
Ellen Smith INV-0088 11/2/2017 11/12/2017]|usd 500 500 0
EZRA BIRNBAUM INV-0087 11/2/2017 11/12/2017] usd 4000 4000 0
Douglas C Johnson INV-0092 11/3/2017 11/13/2017]usd 1000 1000 0
mark bailey INV-0100 11/4/2017 11/14/2017]|usd 750 750 0
Robert Munden INV-0096 11/4/2017 11/14/2017]|usd 100 100 0
Adeoye Tinubu INV-0095 11/4/2017 11/14/2017 ]|usd 200 200 0
James D. Boggs INV-0109 11/5/2017 11/15/2017]|usd 1000 1000 0
Michael Taylor INV-0108 11/5/2017 11/15/2017]|usd 200 200 0
Perry Smulson INV-0113 11/6/2017 11/16/2017]|usd 20 20 0
Perry Smulson INV-0121 11/7/2017 11/17/2017]usd 1000 1000 0
Ronald Farhat INV-0117 11/7/2017 11/17/2017]|usd 250 250 0
Ellen Smith INV-0125 11/8/2017 11/18/2017]|usd 500 500 0
Janette jd DeCaire INV-0124 11/8/2017 11/18/2017 ]usd 200 200 0
Trevor Tennis INV-0133 11/9/2017 11/19/2017]|usd 600 600 0
Eric Conway INV-0132 11/9/2017 11/19/2017]|usd 6000 6000 0
noam bouzaglou INV-0131 11/9/2017 11/19/2017 usd 1000 1000 0
Luis Hernandez INV-0129 11/9/2017 11/19/2017 ]|usd 300 300 0
David Long INV-0141 11/10/2017 11/20/2017]|usd 50 50 0
pete martinez INV-0139 11/10/2017 11/20/2017] usd 100 100 0
Scott Henderson INV-0138 11/10/2017 11/20/2017 ]usd 250 250 0
karri simmons INV-0147 11/12/2017 11/22/2017]|usd 200 200 0
craig will INV-0146 11/12/2017 11/22/2017|usd 100 100 0
Pierre Alessandria INV-0145 11/12/2017 11/22/2017 |usd 200 200 0
Heather Long INV-0152 11/13/2017 11/23/2017]|usd 2000 2000 0
Brandon Busa INV-0168 11/17/2017 11/27/2017 |usd 500 500 0

EX3137-001

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 2of19
Tirambad Shiwakoti INV-0166 11/17/2017 11/27/2017 |usd 150 150 0
Samantha Wester INV-0183 11/20/2017 11/30/2017]usd 250 250 0
Michael Engelhardt INV-0197 11/21/2017 12/1/2017|usd 2000 2000 0
Simon Honeywood INV-0202 11/22/2017 12/2/2017 |usd 60 60 0
Kent Stichter INV-0201 11/22/2017 12/2/2017} usd 75 75 0
Nnana Obioha INV-0200 11/22/2017 12/2/2017|usd 1000 1000 0
Clark K Hogan INV-0209 11/23/2017 12/3/2017|usd 2000 2000 0
John Melathethil INV-0224 11/24/2017 12/4/2017 }usd 100 100 0
Weston Berg INV-0213 11/24/2017 12/4/2017|usd 160 160 0
Sayalee mehta INV-0252 11/25/2017 12/5/2017}usd 500 500 0
Christopher Gravelle INV-0240 11/25/2017 12/5/2017 ]usd 100 100 0
Keith Van Doren INV-0235 11/25/2017 12/5/2017} usd 1000 1000 0
Michael Taylor INV-0231 11/25/2017 12/5/2017|usd 200 200 0
Humberto Borque INV-0280 11/26/2017 12/6/2017 }usd 200 200 0
Thurston Ford INV-0263 11/26/2017 12/6/2017} usd 50 50 0
Lena M Oesterling INV-0262 11/26/2017 12/6/2017|usd 300 300 0
Thomas A Cunningham |INV-0258 11/26/2017 12/6/2017 }usd 500 500 0
Adeoye Tinubu INV-0257 11/26/2017 12/6/2017} usd 400 400 0
Jane Ginn INV-0253 11/26/2017 12/6/2017|usd 1000 1000 0
Lovemore F Mudoti INV-0310 11/27/2017 12/7/2017 }usd 2000 2000 0
Danita Bryant INV-0309 11/27/2017 12/7/2017|usd 50 50 0
Naman INV-0306 11/27/2017 12/7/2017} usd 50 50 0
Jay Yparraguirre INV-0287 11/27/2017 12/7/2017} usd 500 500 0
Derrick Jones INV-0285 11/27/2017 12/7/2017|usd 100 100 0
Avinash Behera INV-0356 11/28/2017 12/8/2017} usd 100 100 0
Dragan Jankovic INV-0350 11/28/2017 12/8/2017 }usd 100 100 0
Carl Harlan INV-0349 11/28/2017 12/8/2017|usd 1000 1000 0
Cary Rosen INV-0345 11/28/2017 12/8/2017 |usd 100 100 0
Weston Berg INV-0339 11/28/2017 12/8/2017|usd 1000 1000 0
Heather Long INV-0336 11/28/2017 12/8/2017|usd 600 600 0
Christian cajigas INV-0327 11/28/2017 12/8/2017 }usd 300 300 0
Francis Tsang INV-0321 11/28/2017 12/8/2017}usd 100 100 0
Allison INV-0398 11/29/2017 12/9/2017 |usd 200 200 0
Surendrakumar Jebakan}INV-0396 11/29/2017 12/9/2017|usd 200 200 0
Tim Fore INV-0392 11/29/2017 12/9/2017} usd 200 200 0
Roeland van Engen INV-0387 11/29/2017 12/9/2017 }usd 250 250 0
John Melathethil INV-0385 11/29/2017 12/9/2017 }usd 200 200 0
Robert Haney INV-0384 11/29/2017 12/9/2017} usd 100 100 0
Kevin Tom INV-0382 11/29/2017 12/9/2017|usd 200 200 0
Harald Maehrle INV-0377 11/29/2017 12/9/2017|usd 5000 5000 0
Dmitriy Buyanov INV-0372 11/29/2017 12/9/2017 |usd 100000 100000 0
Rami salha INV-0369 11/29/2017 12/9/2017}usd 500 500 0
Avinash Behera INV-0360 11/29/2017 12/9/2017 }usd 100 100 0
Tiffany Chieng INV-0436 11/30/2017 12/10/2017]|usd 300 300 0
Jason Hammond INV-0429 11/30/2017 12/10/2017 |usd 1000 1000 0
Jonathan Adderly INV-0413 11/30/2017 12/10/2017 |usd 200 200 0
Eric Janssen INV-0410 11/30/2017 12/10/2017]|usd 200 200 0
ryan milne INV-0401 11/30/2017 12/10/2017 ]usd 400 400 0
Rachael Bruner INV-0465 12/1/2017 12/11/2017]|usd 1000 1000 0

EX3137-002

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 3of 19
Jeff G. Davenport INV-0456 12/1/2017 12/11/2017]|usd 200 200 0
Aron Charach INV-0448 12/1/2017 12/11/2017]usd 1000 1000 0
Philip Griffin INV-0446 12/1/2017 12/11/2017]|usd 250 250 0
Shauna A Hopper INV-0445 12/1/2017 12/11/2017 |usd 1000 1000 0
Rafael INV-0528 12/2/2017 12/12/2017|usd 400 400 0
Hasmaik Estevez INV-0527 12/2/2017 12/12/2017]|usd 400 400 0
Tinh Hoang INV-0511 12/2/2017 12/12/2017]|usd 5000 5000 0
Du Nguyen INV-0510 12/2/2017 12/12/2017] usd 8000 8000 0
John Toles INV-0509 12/2/2017 12/12/2017]|usd 200 200 0
Sachin Ghewde INV-0502 12/2/2017 12/12/2017]|usd 201 201 0
Andrzej Malik INV-0500 12/2/2017 12/12/2017]|usd 300 300 0
Morgan Fincher INV-0496 12/2/2017 12/12/2017]usd 500 500 0
Keith Ryan Kalson INV-0482 12/2/2017 12/12/2017|usd 400 400 0
TIM NGUYENTU INV-0574 12/3/2017 12/13/2017]|usd 10000 10000 0
Are Gloersen INV-0573 12/3/2017 12/13/2017]|usd 200 200 0
Thao INV-0570 12/3/2017 12/13/2017]|usd 250 250 0
michael rabbette INV-0564 12/3/2017 12/13/2017]|usd 10000 10000 0
Lee and Tracy Westcott |INV-0559 12/3/2017 12/13/2017]|usd 1000 1000 0
Amina INV-0557 12/3/2017 12/13/2017] usd 1500 1500 0
Sarabjit kaur INV-0554 12/3/2017 12/13/2017]|usd 600 600 0
Amina INV-0552 12/3/2017 12/13/2017]|usd 1000 1000 0
Andrew Scott INV-0538 12/3/2017 12/13/2017 ]usd 1020 1020 0
Er Wen Chyi INV-0536 12/3/2017 12/13/2017]|usd 200 200 0
Eric Roberts INV-0533 12/3/2017 12/13/2017]|usd 500 500 0
yeo siong gow INV-0529 12/3/2017 12/13/2017 }usd 238 238 0
Hien Nguyen INV-0625 12/4/2017 12/14/2017]|usd 1000 1000 0
Alan INV-0622 12/4/2017 12/14/2017 ]|usd 3000 3000 0
Warren may INV-0621 12/4/2017 12/14/2017 ]|usd 1000 1000 0
Calvin P Border INV-0620 12/4/2017 12/14/2017 ]|usd 1000 1000 0
Philip Livingston INV-0619 12/4/2017 12/14/2017 ]|usd 1000 1000 0
yaro didovets INV-0615 12/4/2017 12/14/2017]|usd 2000 2000 0
simon c on INV-0614 12/4/2017 12/14/2017|usd 300 300 0
Stephen Prescott Farrar |INV-0611 12/4/2017 12/14/2017|usd 1000 1000 0
Stephen Prescott Farrar |INV-0610 12/4/2017 12/14/2017|usd 2500 2500 0
Dale Styles-Hudson INV-0602 12/4/2017 12/14/2017]|usd 9000 9000 0
Antonio Emanuele LeonqINV-0601 12/4/2017 12/14/2017|usd 1000 1000 0
Guasti Luca INV-0600 12/4/2017 12/14/2017]|usd 1000 1000 0
Dale Styles-Hudson INV-0597 12/4/2017 12/14/2017 ]|usd 1000 1000 0
James York INV-0595 12/4/2017 12/14/2017]|usd 1000 1000 0
Hector Arteaga INV-0593 12/4/2017 12/14/2017]|usd 200 200 0
Kenneth Van Doren INV-0667 12/5/2017 12/15/2017]|usd 1000 1000 0
Jeremy Weed INV-0664 12/5/2017 12/15/2017]usd 10000 10000 0
Andy Viettry INV-0661 12/5/2017 12/15/2017]|usd 300 300 0
Robert guy INV-0658 12/5/2017 12/15/2017]|usd 500 500 0
Marc gregory Cordoviz |INV-0657 12/5/2017 12/15/2017}usd 1000 1000 0
Cory Cohen INV-0651 12/5/2017 12/15/2017]|usd 200 200 0
Chris Barton INV-0643 12/5/2017 12/15/2017|usd 600 600 0
Richard Guzman INV-0642 12/5/2017 12/15/2017]|usd 500 500 0
Derek Jee INV-0629 12/5/2017 12/15/2017]|usd 200 200 0

EX3137-003

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 4of19
Drew bell INV-0626 12/5/2017 12/15/2017]|usd 500 500 0
Ceslovas Kucinskas INV-0738 12/6/2017 12/16/2017 usd 214 214 0
Narayan Mitra INV-0734 12/6/2017 12/16/2017]|usd 1000 1000 0
Blaine Larson INV-0733 12/6/2017 12/16/2017]|usd 200 200 0
Sithikone Soukbandith |INV-0730 12/6/2017 12/16/2017 usd 2500 2500 0
Chris Burchell INV-0729 12/6/2017 12/16/2017 |usd 200 200 0
Christopher Watson INV-0725 12/6/2017 12/16/2017] usd 200 200 0
Herman Enciso INV-0724 12/6/2017 12/16/2017 ]|usd 200 200 0
Terry Walters INV-0722 12/6/2017 12/16/2017]|usd 200 200 0
Christine La INV-0719 12/6/2017 12/16/2017]|usd 1000 1000 0
Kip doyle INV-0714 12/6/2017 12/16/2017] usd 200 200 0
Alisha Rosen INV-0710 12/6/2017 12/16/2017]usd 2000 2000 0
Jacqueline Sierra Rosen |INV-0708 12/6/2017 12/16/2017 |usd 2000 2000 0
Bonnie Adley INV-0707 12/6/2017 12/16/2017]|usd 1016.24} 1016.24 0
seth bearden INV-0705 12/6/2017 12/16/2017 ]usd 5000 5000 0
ANDI Services LLC INV-0704 12/6/2017 12/16/2017]|usd 250 250 0
Christian Shostle INV-0703 12/6/2017 12/16/2017] usd 250 250 0
ANDI Services LLC INV-0698 12/6/2017 12/16/2017]|usd 250 250 0
Luther Kennedy INV-0690 12/6/2017 12/16/2017]|usd 1000 1000 0
Harvinder Singh INV-0689 12/6/2017 12/16/2017]|usd 1000 1000 0
GAMALUDDIN MAHMOUINV-0688 12/6/2017 12/16/2017]|usd 1000 1000 0
YASER GAMALUDDIN HAINV-0687 12/6/2017 12/16/2017|usd 1017 1017 0
Robert T Davies INV-0684 12/6/2017 12/16/2017]|usd 200 200 0
Dale Styles-Hudson INV-0681 12/6/2017 12/16/2017]|usd 5000 5000 0
Yahya INV-0677 12/6/2017 12/16/2017 ]usd 1000 1000 0
Harvinder Singh INV-0676 12/6/2017 12/16/2017]|usd 200 200 0
Ike Weinstein INV-0813 12/7/2017 12/17/2017]|usd 200 200 0
Dustin Hall INV-0811 12/7/2017 12/17/2017|usd 500 500 0
luis INV-0809 12/7/2017 12/17/2017]|usd 200 200 0
Diana Fonica Liu INV-0807 12/7/2017 12/17/2017]|usd 200 200 0
Cosmas INV-0805 12/7/2017 12/17/2017]|usd 250 250 0
Richard Sauer INV-0801 12/7/2017 12/17/2017|usd 1000 1000 0
KIEU T NGUYENTU INV-0799 12/7/2017 12/17/2017]|usd 5000 5000 0
Edward Fernandez INV-0797 12/7/2017 12/17/2017]|usd 200 200 0
Hunter Farber INV-0790 12/7/2017 12/17/2017 |usd 200 200 0
Tim INV-0785 12/7/2017 12/17/2017]|usd 600 600 0
Alan S Cheop INV-0783 12/7/2017 12/17/2017]|usd 500 500 0
Joseph Daskal INV-0779 12/7/2017 12/17/2017 ]|usd 200 200 0
Artsiom Saratsikian INV-0774 12/7/2017 12/17/2017 |usd 1000 1000 0
Nicholas Down INV-0767 12/7/2017 12/17/2017]|usd 1000 1000 0
Thomas Livingston INV-0764 12/7/2017 12/17/2017 |usd 200 200 0
Lena M Oesterling INV-0763 12/7/2017 12/17/2017|usd 600 600 0
Mahmoud Gouda INV-0760 12/7/2017 12/17/2017|usd 1000 1000 0
Luther Kennedy INV-0759 12/7/2017 12/17/2017|usd 6000 6000 0
Dan Bastien INV-0758 12/7/2017 12/17/2017|usd 200 200 0
Miguel INV-0757 12/7/2017 12/17/2017|usd 220 220 0
mohamad jaafar darwiclINV-0756 12/7/2017 12/17/2017|usd 1500 1500 0
Aditya Kulkarni INV-0751 12/7/2017 12/17/2017|usd 200 200 0
Antonio Augello INV-0749 12/7/2017 12/17/2017|usd 200 200 0

EX3137-004

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 5of19
Paul Thornton INV-0744 12/7/2017 12/17/2017]|usd 200 200 0
Anas Mustafa INV-0741 12/7/2017 12/17/2017|usd 1000 1000 0
Andrew INV-0740 12/7/2017 12/17/2017] usd 200 200 0
ANDI Services LLC INV-0896 12/8/2017 12/18/2017]|usd 250 250 0
KRISHNA TANTRY INV-0894 12/8/2017 12/18/2017|usd 1000 1000 0
Agustin Estrellalopez INV-0892 12/8/2017 12/18/2017 |usd 200 200 0
KRISHNA TANTRY INV-0891 12/8/2017 12/18/2017]|usd 2000 2000 0
Rukesh Bhuju INV-0888 12/8/2017 12/18/2017]|usd 200 200 0
Scott Bruffey INV-0886 12/8/2017 12/18/2017]|usd 100000 100000 0
KRISHNA TANTRY INV-0884 12/8/2017 12/18/2017]|usd 2000 2000 0
Gabriel Duque INV-0881 12/8/2017 12/18/2017]|usd 500 500 0
Hien Nguyen INV-0879 12/8/2017 12/18/2017]usd 2000 2000 0
Saeed INV-0878 12/8/2017 12/18/2017]|usd 2000 2000 0
MIROSLAV BEGANOVIC |INV-0877 12/8/2017 12/18/2017]|usd 10000 10000 0
Irfaan INV-0874 12/8/2017 12/18/2017]usd 800 800 0
Dominick Cihelka INV-0862 12/8/2017 12/18/2017 |usd 250 250 0
Binh Dinh nho INV-0863 12/8/2017 12/18/2017 ]|usd 240 240 0
Christopher Lanzara INV-0861 12/8/2017 12/18/2017 |usd 200 200 0
Michael Critchley INV-0851 12/8/2017 12/18/2017]|usd 500 500 0
MR VIRALKUMAR J PATEINV-0845 12/8/2017 12/18/2017]|usd 200 200 0
Jordan swenson INV-0834 12/8/2017 12/18/2017 |usd 1000 1000 0
Simon Slamaker INV-0832 12/8/2017 12/18/2017 ]usd 300 300 0
Brandon Caldwell INV-0831 12/8/2017 12/18/2017]|usd 600 600 0
Simon Slamaker INV-0826 12/8/2017 12/18/2017 |usd 200 200 0
Mark Darbyshire INV-0825 12/8/2017 12/18/2017]usd 200 200 0
Dan Trang INV-0819 12/8/2017 12/18/2017]|usd 4000 4000 0
Kevin gonzalez INV-0968 12/9/2017 12/19/2017]|usd 200 200 0
Stuart Durie INV-0964 12/9/2017 12/19/2017]|usd 200 200 0
Ramhari Subedi INV-0956 12/9/2017 12/19/2017 ]|usd 5000 5000 0
tushar INV-0954 12/9/2017 12/19/2017]|usd 250 250 0
Chris Feniello INV-0950 12/9/2017 12/19/2017 |usd 1000 1000 0
Bradley Meyerson INV-0949 12/9/2017 12/19/2017]usd 200 200 0
Zak INV-0947 12/9/2017 12/19/2017]|usd 200 200 0
John Ambrose INV-0944 12/9/2017 12/19/2017]|usd 200 200 0
Heath Watson INV-0938 12/9/2017 12/19/2017]usd 500 500 0
Heath Watson INV-0935 12/9/2017 12/19/2017]|usd 250 250 0
Michael Buonocore INV-0931 12/9/2017 12/19/2017 ]usd 200 200 0
mark mazalon INV-0929 12/9/2017 12/19/2017 ]|usd 2600 2600 0
mark mazalon INV-0927 12/9/2017 12/19/2017]|usd 1500 1500 0
Vladimir Romaniv INV-0926 12/9/2017 12/19/2017]|usd 400 400 0
leasha Lavita Baker INV-0924 12/9/2017 12/19/2017] usd 1000 1000 0
Leon Crocker INV-0922 12/9/2017 12/19/2017]|usd 260 260 0
KRISHNA TANTRY INV-0915 12/9/2017 12/19/2017]|usd 2000 2000 0
Madjid KERTACHE INV-0905 12/9/2017 12/19/2017 ]|usd 200 200 0
Robyn Nathan INV-0904 12/9/2017 12/19/2017|usd 1317 1317 0
Rahul Shrivastava INV-1046 12/10/2017 12/20/2017 |usd 1000 1000 0
jeffrey carter INV-1044 12/10/2017 12/20/2017]|usd 300 300 0
Phuong Vo INV-1041 12/10/2017 12/20/2017]|usd 500 500 0
Terry Walters INV-1036 12/10/2017 12/20/2017]|usd 800 800 0

EX3137-005

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 6of19
Dennis Ham INV-1035 12/10/2017 12/20/2017]|usd 200 200 0
luis velez INV-1034 12/10/2017 12/20/2017 )|usd 200 200 0
Kevin Gilliam INV-1033 12/10/2017 12/20/2017]|usd 500 500 0
Ricardo A. Huerta INV-1024 12/10/2017 12/20/2017 | usd 200 200 0
Mark Lionel Levy INV-1016 12/10/2017 12/20/2017]|usd 200 200 0
Sahban abdulkarim yaak|INV-1014 12/10/2017 12/20/2017|usd 1000 1000 0
Brian Rhoades INV-1013 12/10/2017 12/20/2017] usd 1000 1000 0
Antavius Barnett INV-1001 12/10/2017 12/20/2017 ]|usd 250 250 0
Renato SORDI INV-0999 12/10/2017 12/20/2017]|usd 5000 5000 0
Michael L. Virden Jr. INV-0998 12/10/2017 12/20/2017]|usd 1000 1000 0
Christina Kirven INV-0985 12/10/2017 12/20/2017 |usd 200 200 0
Christina Kirven INV-0984 12/10/2017 12/20/2017 |usd 200 200 0
Christina Kirven INV-0983 12/10/2017 12/20/2017 |usd 200 200 0
joseph berimballi INV-0979 12/10/2017 12/20/2017 |usd 2000 2000 0
Tony Constantinides INV-0974 12/10/2017 12/20/2017 |usd 300 300 0
Yu-Hsuan pu INV-0971 12/10/2017 12/20/2017 |usd 200 200 0
Ceslovas Kucinskas INV-0969 12/10/2017 12/20/2017 |usd 220 220 0
Kevin Gilliam INV-1129 12/11/2017 12/21/2017 |usd 500 500 0
Rejy INV-1125 12/11/2017 12/21/2017]|usd 200 200 0
Tri Hoang INV-1123 12/11/2017 12/21/2017]|usd 2000 2000 0
chanajit INV-1121 12/11/2017 12/21/2017]|usd 500 500 0
Bradley Leamy INV-1118 12/11/2017 12/21/2017 |usd 1000 1000 0
Gregory White5S INV-1117 12/11/2017 12/21/2017 |usd 5000 5000 0
Andrew Thursby-PelhamINV-1115 12/11/2017 12/21/2017]|usd 200 200 0
Pablo INV-1113 12/11/2017 12/21/2017|usd 2500 2500 0
Charles (Mike) Allen INV-1103 12/11/2017 12/21/2017 |usd 200 200 0
Matthew Gershik INV-1102 12/11/2017 12/21/2017]|usd 300 300 0
Michael Musho INV-1101 12/11/2017 12/21/2017 |usd 2000 2000 0
Joel INV-1096 12/11/2017 12/21/2017]|usd 200 200 0
Ricardo A. Huerta INV-1094 12/11/2017 12/21/2017 |usd 200 200 0
Andrea Heier INV-1091 12/11/2017 12/21/2017]|usd 200 200 0
Duaa Nabri INV-1090 12/11/2017 12/21/2017 ]|usd 500 500 0
jose a delgado INV-1088 12/11/2017 12/21/2017]|usd 200 200 0
Christian INV-1087 12/11/2017 12/21/2017]|usd 200 200 0
Michael D. Malliski INV-1086 12/11/2017 12/21/2017 ]usd 500 500 0
Randy Utz INV-1085 12/11/2017 12/21/2017]|usd 1000 1000 0
Jerry Watson INV-1079 12/11/2017 12/21/2017]|usd 750 750 0
ANTONINO dONNABELLAINV-1078 12/11/2017 12/21/2017]|usd 200 200 0
Ted Bailey INV-1077 12/11/2017 12/21/2017]|usd 250 250 0
CLAUDIO INV-1063 12/11/2017 12/21/2017]|usd 200 200 0
Andrew carter INV-1059 12/11/2017 12/21/2017]|usd 1000 1000 0
Eric Roberts INV-1055 12/11/2017 12/21/2017 ]usd 1500 1500 0
Samer Mawad INV-1053 12/11/2017 12/21/2017 |usd 300 300 0
Sadasiwan naidu INV-1051 12/11/2017 12/21/2017 |usd 200 200 0
Magdy Mahmoud Moha}INV-1048 12/11/2017 12/21/2017|usd 1000 1000 0
jyothish INV-1248 12/12/2017 12/22/2017]|usd 1000 1000 0
Samer Mawad INV-1247 12/12/2017 12/22/2017|usd 400 400 0
Joey Fio INV-1243 12/12/2017 12/22/2017]|usd 200 200 0
Shane Tart INV-1240 12/12/2017 12/22/2017]|usd 200 200 0

EX3137-006

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 7 of 19
Brandon Hopper INV-1238 12/12/2017 12/22/2017 ]|usd 200 200 0
Stephen Walker INV-1237 12/12/2017 12/22/2017|usd 200 200 0
Gregory T Carter INV-1234 12/12/2017 12/22/2017|usd 500 500 0
Pedro Ribera INV-1230 12/12/2017 12/22/2017|usd 200 200 0
Jean Carlos INV-1227 12/12/2017 12/22/2017 |usd 300 300 0
george lohan INV-1226 12/12/2017 12/22/2017|usd 400 400 0
Stuart Lambert INV-1225 12/12/2017 12/22/2017|usd 750 750 0
Michael Rohr INV-1222 12/12/2017 12/22/2017|usd 200 200 0
Wenkui Fu INV-1217 12/12/2017 12/22/2017|usd 3000 3000 0
Dreama M Chavis INV-1215 12/12/2017 12/22/2017]|usd 200 200 0
Gary Siebenlist INV-1211 12/12/2017 12/22/2017]|usd 2000 2000 0
Majikeen Mendoza INV-1209 12/12/2017 12/22/2017 ]|usd 1000 1000 0
Mohammed Rezaul Kari INV-1207 12/12/2017 12/22/2017|usd 200 200 0
Melissa nagi INV-1205 12/12/2017 12/22/2017|usd 500 500 0
Brian Gillespie INV-1204 12/12/2017 12/22/2017|usd 1000 1000 0
Michael Valentino INV-1203 12/12/2017 12/22/2017 |usd 510 510 0
Thomas handrinos INV-1201 12/12/2017 12/22/2017 |usd 500 500 0
James Bainbridge INV-1199 12/12/2017 12/22/2017 ]|usd 200 200 0
Alex Cornuaud INV-1196 12/12/2017 12/22/2017]|usd 3000 3000 0
vitaliy tereshchenkov — |INV-1189 12/12/2017 12/22/2017|usd 300 300 0
Marc gregory Cordoviz |INV-1188 12/12/2017 12/22/2017 ]|usd 4000 4000 0
JESSE POWERS INV-1187 12/12/2017 12/22/2017 |usd 200 200 0
Deena Stanley INV-1186 12/12/2017 12/22/2017|usd 200 200 0
Saul INV-1185 12/12/2017 12/22/2017]|usd 1000 1000 0
Santhiyau *******0008 |INV-1181 12/12/2017 12/22/2017 |usd 2000 2000 0
James Gelhaar INV-1180 12/12/2017 12/22/2017]|usd 250 250 0
Jeremy Chen INV-1178 12/12/2017 12/22/2017|usd 888 888 0
David VanOrden INV-1176 12/12/2017 12/22/2017|usd 200 200 0
Jamie Hilllyer INV-1175 12/12/2017 12/22/2017|usd 200 200 0
Carlos Franco INV-1171 12/12/2017 12/22/2017|usd 1000 1000 0
Alexis Demetriades INV-1170 12/12/2017 12/22/2017 ]|usd 200 200 0
Sherman Quintyn INV-1167 12/12/2017 12/22/2017 |usd 230 230 0
Amir Benisti INV-1162 12/12/2017 12/22/2017|usd 500 500 0
Douglas Rico INV-1157 12/12/2017 12/22/2017|usd 2000 2000 0
Umar Junaid INV-1153 12/12/2017 12/22/2017|usd 200 200 0
Terence Hymel INV-1152 12/12/2017 12/22/2017]|usd 1000 1000 0
Ghassemi INV-1146 12/12/2017 12/22/2017]|usd 13000 13000 0
Thinh Nguyen INV-1144 12/12/2017 12/22/2017|usd 1000 1000 0
Martin Smit INV-1139 12/12/2017 12/22/2017]|usd 1449.4 1449.4 0
Nathan Shearman INV-1138 12/12/2017 12/22/2017|usd 2000 2000 0
Christian Shostle INV-1136 12/12/2017 12/22/2017 |usd 500 500 0
kevin ryan INV-1345 12/13/2017 12/23/2017 |usd 200 200 0
Michael sunkin INV-1340 12/13/2017 12/23/2017]|usd 1100 1100 0
Ezhilarasan Irulappan | INV-1331 12/13/2017 12/23/2017 |usd 2000 2000 0
Michael Critchley INV-1330 12/13/2017 12/23/2017]|usd 200 200 0
Lyneah Cole INV-1322 12/13/2017 12/23/2017]|usd 200 200 0
Giles Burnett INV-1316 12/13/2017 12/23/2017|usd 200 200 0
Nirav Gohil INV-1314 12/13/2017 12/23/2017|usd 2000 2000 0
Edmond Mahmoudi INV-1312 12/13/2017 12/23/2017 |usd 200 200 0

EX3137-007

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 8 of 19
Jatinder Sohal INV-1311 12/13/2017 12/23/2017]|usd 250 250 0
Raphi INV-1306 12/13/2017 12/23/2017|usd 1000 1000 0
Nicholas Diamond INV-1303 12/13/2017 12/23/2017 |usd 505 505 0
Bruce Shipper INV-1301 12/13/2017 12/23/2017]|usd 500 500 0
Sheldon Almeida INV-1300 12/13/2017 12/23/2017|usd 300 300 0
Munish Kumar INV-1298 12/13/2017 12/23/2017|usd 200 200 0
Muhammad Wasi Alam |INV-1297 12/13/2017 12/23/2017|usd 500 500 0
Alex Benisatto INV-1293 12/13/2017 12/23/2017|usd 200 200 0
Isaac lerman INV-1292 12/13/2017 12/23/2017]|usd 200 200 0
Raj INV-1289 12/13/2017 12/23/2017]|usd 500 500 0
mohamed abdulgany _ |INV-1288 12/13/2017 12/23/2017 |usd 15000 15000 0
Abhay Vakil INV-1286 12/13/2017 12/23/2017 |usd 1000 1000 0
Marcia Ruhl INV-1283 12/13/2017 12/23/2017 |usd 200 200 0
Fabio Ottenga INV-1282 12/13/2017 12/23/2017 |usd 500 500 0
Giles Burnett INV-1280 12/13/2017 12/23/2017|usd 200 200 0
Ben Phillips INV-1279 12/13/2017 12/23/2017|usd 200 200 0
Dupuy INV-1265 12/13/2017 12/23/2017]|usd 200 200 0
Diem Thuy Tran guyen |INV-1262 12/13/2017 12/23/2017 |usd 500 500 0
Noor Aldeen Adeeb AmgINV-1259 12/13/2017 12/23/2017|usd 800 800 0
mohammed yaqoub INV-1257 12/13/2017 12/23/2017 |usd 1100 1100 0
Noor Aldeen Adeeb AmgINV-1254 12/13/2017 12/23/2017|usd 200 200 0
Lananh Trinh INV-1252 12/13/2017 12/23/2017 |usd 1000 1000 0
Rabah Abu Hijleh INV-1457 12/14/2017 12/24/2017 |usd 1000 1000 0
Mohamed R Basheer Ah} INV-1456 12/14/2017 12/24/2017|usd 200 200 0
Sam Sobania INV-1454 12/14/2017 12/24/2017|usd 12500 12500 0
Shraga Orzel INV-1451 12/14/2017 12/24/2017]|usd 200 200 0
Asuka E Nakagawa INV-1450 12/14/2017 12/24/2017]|usd 500 500 0
Surendrakumar Jebakan|INV-1446 12/14/2017 12/24/2017|usd 299 299 0
Christina Kirven INV-1445 12/14/2017 12/24/2017]|usd 400 400 0
Jeremy INV-1444 12/14/2017 12/24/2017]|usd 200 200 0
Rami salha INV-1442 12/14/2017 12/24/2017 |usd 500 500 0
Sean needum INV-1437 12/14/2017 12/24/2017 |usd 2000 2000 0
Jean D. Baptichon INV-1435 12/14/2017 12/24/2017|usd 1000 1000 0
BHNV LLC INV-1433 12/14/2017 12/24/2017]|usd 10000 10000 0
Ronald K Mcintire INV-1430 12/14/2017 12/24/2017 |usd 1000 1000 0
Shane Alfonso INV-1423 12/14/2017 12/24/2017]|usd 5000 5000 0
Devon Crain INV-1419 12/14/2017 12/24/2017]|usd 200 200 0
Anthony Ruffini INV-1418 12/14/2017 12/24/2017 |usd 300 300 0
Lukasz Polanski INV-1415 12/14/2017 12/24/2017]|usd 200 200 0
Matthw J Cucolo INV-1412 12/14/2017 12/24/2017]|usd 1000 1000 0
Robbie Cook INV-1409 12/14/2017 12/24/2017]|usd 200 200 0
Edward Fernandez INV-1408 12/14/2017 12/24/2017 |usd 5000 5000 0
Christopher Gravelle INV-1406 12/14/2017 12/24/2017]|usd 225 225 0
Donald Balentine INV-1404 12/14/2017 12/24/2017 |usd 200 200 0
Eric Sauls INV-1398 12/14/2017 12/24/2017]|usd 2000 2000 0
Paul Redbond INV-1396 12/14/2017 12/24/2017]|usd 250 250 0
mark shoemaker INV-1392 12/14/2017 12/24/2017]|usd 1250 1250 0
Chiau Li Hsu INV-1383 12/14/2017 12/24/2017]|usd 200 200 0
Brandon Caldwell INV-1381 12/14/2017 12/24/2017 |usd 1000 1000 0

EX3137-008

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 9of19
Yeo Yin Kiet INV-1377 12/14/2017 12/24/2017]|usd 1200 1200 0
Joey Fio INV-1374 12/14/2017 12/24/2017|usd 250 250 0
Peter Harris INV-1373 12/14/2017 12/24/2017 ]|usd 200 200 0
Jerko INV-1372 12/14/2017 12/24/2017]|usd 1000 1000 0
Renato SORDI INV-1370 12/14/2017 12/24/2017 |usd 2000 2000 0
Tom Cooper INV-1368 12/14/2017 12/24/2017 |usd 1000 1000 0
Rahul INV-1364 12/14/2017 12/24/2017|usd 500 500 0
Richard English INV-1362 12/14/2017 12/24/2017]|usd 550 550 0
Ghassemi INV-1361 12/14/2017 12/24/2017]|usd 7050 7050 0
Alberto Legido INV-1358 12/14/2017 12/24/2017 |usd 200 200 0
Sunil Sadasivan INV-1357 12/14/2017 12/24/2017 |usd 200 200 0
andy j hwang INV-1356 12/14/2017 12/24/2017 |usd 200 200 0
Cameron Dick INV-1355 12/14/2017 12/24/2017]|usd 250 250 0
Fawaz Alsomol INV-1354 12/14/2017 12/24/2017 |usd 1000 1000 0
Rishikesh Yadav INV-1346 12/14/2017 12/24/2017 ]|usd 200 200 0
Vince D'Souza INV-1621 12/15/2017 12/25/2017]|usd 1250 1250 0
Edward Fernandez INV-1618 12/15/2017 12/25/2017]|usd 12000 12000 0
J. Brian Hayden INV-1605 12/15/2017 12/25/2017 |usd 750 750 0
Jennifer Scarola INV-1597 12/15/2017 12/25/2017]|usd 800 800 0
Jake Dizon INV-1594 12/15/2017 12/25/2017]|usd 200 200 0
Charlie Khoury INV-1590 12/15/2017 12/25/2017]|usd 12500 12500 0
Mujtaba Alam INV-1584 12/15/2017 12/25/2017 |usd 500 500 0
Errin Chenier INV-1568 12/15/2017 12/25/2017]|usd 200 200 0
Simon INV-1567 12/15/2017 12/25/2017]|usd 1000 1000 0
Radica Singh INV-1564 12/15/2017 12/25/2017]|usd 200 200 0
Radica Singh INV-1560 12/15/2017 12/25/2017]|usd 200 200 0
Anne Toole INV-1551 12/15/2017 12/25/2017]|usd 10000 10000 0
Radica Singh INV-1550 12/15/2017 12/25/2017]|usd 200 200 0
Garrett Christopher INV-1538 12/15/2017 12/25/2017]|usd 300 300 0
Lance Christopher INV-1537 12/15/2017 12/25/2017]|usd 200 200 0
Mark watson INV-1531 12/15/2017 12/25/2017]|usd 250 250 0
Jeff Mitstifer INV-1529 12/15/2017 12/25/2017]|usd 200 200 0
Dan Bruner INV-1525 12/15/2017 12/25/2017]|usd 2000 2000 0
Marc Barnes INV-1524 12/15/2017 12/25/2017]|usd 1000 1000 0
Ava INV-1520 12/15/2017 12/25/2017 ]|usd 200 200 0
Daniel Stine INV-1518 12/15/2017 12/25/2017]|usd 200 200 0
gabriella davila INV-1516 12/15/2017 12/25/2017]|usd 500 500 0
Daniel E Boffa INV-1511 12/15/2017 12/25/2017]|usd 1200 1200 0
Miral Parmar INV-1510 12/15/2017 12/25/2017]|usd 250 250 0
Roman Melnik INV-1493 12/15/2017 12/25/2017]|usd 500 500 0
Prisca Akpai INV-1492 12/15/2017 12/25/2017]|usd 250 250 0
kym revill INV-1482 12/15/2017 12/25/2017 |usd 200 200 0
Jeremy Owen-Lee INV-1477 12/15/2017 12/25/2017]|usd 200 200 0
Rohit Arora INV-1475 12/15/2017 12/25/2017]|usd 200 200 0
Matt Evans INV-1473 12/15/2017 12/25/2017]usd 200 200 0
anthony morris INV-1472 12/15/2017 12/25/2017 |usd 300 300 0
John INV-1471 12/15/2017 12/25/2017]|usd 200 200 0
Michael Carrillo INV-1467 12/15/2017 12/25/2017 ]|usd 2000 2000 0
Brendan Biggs INV-1465 12/15/2017 12/25/2017]|usd 2500 2500 0

EX3137-009

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 10 of 19

Ravindranath Bathula — |INV-1463 12/15/2017 12/25/2017 |usd 300 300 0
Harold Ettinger INV-1462 12/15/2017 12/25/2017 |usd 500 500 0
Brandon Hofmann INV-1461 12/15/2017 12/25/2017]|usd 600 600 0
Sean Jones INV-1671 12/16/2017 12/26/2017]|usd 250 250 0
Clifford Kent INV-1669 12/16/2017 12/26/2017 ]|usd 200 200 0
Charlie Khoury INV-1668 12/16/2017 12/26/2017]|usd 5000 5000 0
Charlie Khoury INV-1667 12/16/2017 12/26/2017]|usd 10000 10000 0
James Bainbridge INV-1666 12/16/2017 12/26/2017 |usd 800 800 0
Michael Huemer INV-1661 12/16/2017 12/26/2017] usd 1250 1250 0
Ammi Patel INV-1654 12/16/2017 12/26/2017]|usd 2000 2000 0
Sumit Selli INV-1641 12/16/2017 12/26/2017]|usd 200 200 0
Neena Selli INV-1639 12/16/2017 12/26/2017]|usd 1050 1050 0
Adam Richardson INV-1635 12/16/2017 12/26/2017 |usd 300 300 0
Anil Patel INV-1632 12/16/2017 12/26/2017]|usd 625 625 0
Perminder Kang INV-1629 12/16/2017 12/26/2017 |usd 200 200 0
Jerry peters INV-1626 12/16/2017 12/26/2017]|usd 250 250 0
Andy Branley INV-1625 12/16/2017 12/26/2017]|usd 1000 1000 0
Paul Martin INV-1623 12/16/2017 12/26/2017]|usd 200 200 0
Vivekanand Sakaram RaqINV-1717 12/17/2017 12/27/2017|usd 250 250 0
Diana Fonica Liu INV-1715 12/17/2017 12/27/2017|usd 10000 10000 0
Leon Adelman INV-1714 12/17/2017 12/27/2017|usd 500 500 0
Paul V. Melnik INV-1709 12/17/2017 12/27/2017 |usd 500 500 0
Maribel Fernandez INV-1708 12/17/2017 12/27/2017|usd 1250 1250 0
Lachlan Gissane INV-1707 12/17/2017 12/27/2017|usd 200 200 0
Ashutosh Srivastava INV-1700 12/17/2017 12/27/2017 |usd 250 250 0
Benito INV-1691 12/17/2017 12/27/2017|usd 200 200 0
Tim Baker INV-1688 12/17/2017 12/27/2017|usd 500 500 0
Francis Di Murro INV-1685 12/17/2017 12/27/2017 |usd 200 200 0
Adam Biles INV-1681 12/17/2017 12/27/2017|usd 1000 1000 0
lee campbell INV-1817 12/18/2017 12/28/2017]|usd 200 200 0
Salvatore Coretto INV-1816 12/18/2017 12/28/2017]|usd 200 200 0
Cheyenne Scarbrough |INV-1815 12/18/2017 12/28/2017 ]|usd 218.75 218.75 0
james Morris INV-1811 12/18/2017 12/28/2017]|usd 200 200 0
Arkady Teplitsky INV-1809 12/18/2017 12/28/2017]|usd 200 200 0
Thomas Polk Crawford |INV-1807 12/18/2017 12/28/2017 |usd 250 250 0
Ismail Imam INV-1802 12/18/2017 12/28/2017]|usd 625 625 0
Kristen A Bartasek INV-1801 12/18/2017 12/28/2017|usd 2000 2000 0
Tom Cooper INV-1797 12/18/2017 12/28/2017 |usd 500 500 0
Thom Moffitt INV-1795 12/18/2017 12/28/2017]|usd 200 200 0
Antonie Christoffel MalajINV-1793 12/18/2017 12/28/2017]|usd 200 200 0
Rahul INV-1790 12/18/2017 12/28/2017]|usd 750 750 0
yaro didovets INV-1788 12/18/2017 12/28/2017]|usd 2000 2000 0
Mohit Bhardwaj INV-1784 12/18/2017 12/28/2017]|usd 400 400 0
J.Waclawski INV-1776 12/18/2017 12/28/2017 |usd 200 200 0
David Shabtai INV-1758 12/18/2017 12/28/2017|usd 300 300 0
Danika Lewis INV-1754 12/18/2017 12/28/2017]|usd 250 250 0
R William Hall INV-1751 12/18/2017 12/28/2017 |usd 200 200 0
Neil Ashworth INV-1747 12/18/2017 12/28/2017 |usd 1000 1000 0
Lloyd Harris INV-1732 12/18/2017 12/28/2017|usd 500 500 0

EX3137-010

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 11 of 19

Stefan Reubelt INV-1728 12/18/2017 12/28/2017|usd 1250 1250 0
mohamed abdulgany —_|INV-1722 12/18/2017 12/28/2017 |usd 1000 1000 0
Phil Ha INV-1720 12/18/2017 12/28/2017]|usd 3825 3825 0
FRITZ G PAUL INV-1898 12/19/2017 12/29/2017]|usd 1270 1270 0
Jarrod Stewart INV-1896 12/19/2017 12/29/2017]|usd 200 200 0
Stephen Casebolt INV-1894 12/19/2017 12/29/2017 |usd 200 200 0
Traci Morin INV-1891 12/19/2017 12/29/2017]|usd 375 375 0
Michael Attias INV-1890 12/19/2017 12/29/2017]|usd 200 200 0
Kishan Vekeria INV-1880 12/19/2017 12/29/2017]|usd 500 500 0
Vaughan Collins INV-1879 12/19/2017 12/29/2017|usd 625 625 0
sandeep shetty INV-1877 12/19/2017 12/29/2017]|usd 250 250 0
Matthew Amundson INV-1876 12/19/2017 12/29/2017]|usd 200 200 0
FRITZ G PAUL INV-1872 12/19/2017 12/29/2017]|usd 600 600 0
Charlie Khoury INV-1864 12/19/2017 12/29/2017]|usd 10000 10000 0
ohad ifergan INV-1862 12/19/2017 12/29/2017|usd 2500 2500 0
Jerry peters INV-1854 12/19/2017 12/29/2017]|usd 500 500 0
Chandni Patel INV-1850 12/19/2017 12/29/2017]|usd 1000 1000 0
Brian S Smith INV-1848 12/19/2017 12/29/2017]|usd 300 300 0
Daniel@oracorpny.com |INV-1845 12/19/2017 12/29/2017 |usd 500 500 0
Jamie Baddeley INV-1846 12/19/2017 12/29/2017]|usd 1267 1267 0
Patrice Michel INV-1844 12/19/2017 12/29/2017]|usd 200 200 0
Chua Puay Chuan INV-1838 12/19/2017 12/29/2017|usd 625 625 0
Chua Puay Chuan INV-1834 12/19/2017 12/29/2017|usd 500 500 0
Robert Brentnall INV-1833 12/19/2017 12/29/2017|usd 300 300 0
L. J. Lichterman INV-1832 12/19/2017 12/29/2017 |usd 200 200 0
Kevin Sherwood INV-1830 12/19/2017 12/29/2017 |usd 5000 5000 0
Simon Levy INV-1827 12/19/2017 12/29/2017]|usd 250 250 0
Ashutosh Srivastava INV-1826 12/19/2017 12/29/2017 |usd 275 275 0
radu man INV-1961 12/20/2017 12/30/2017]|usd 400 400 0
Nancy Heisler INV-1959 12/20/2017 12/30/2017]|usd 201 201 0
Low Poh Ming Wilson _ |INV-1957 12/20/2017 12/30/2017 |usd 200 200 0
Ken Johnson INV-1956 12/20/2017 12/30/2017]|usd 625 625 0
Todor Todorov INV-1955 12/20/2017 12/30/2017]|usd 200 200 0
Olusegun Olowu INV-1950 12/20/2017 12/30/2017] usd 500 500 0
Home INV-1949 12/20/2017 12/30/2017)|usd 500 500 0
Stephen Jed INV-1948 12/20/2017 12/30/2017]|usd 2500 2500 0
Daniel Nelson INV-1940 12/20/2017 12/30/2017]|usd 200 200 0
Jerry Watson INV-1938 12/20/2017 12/30/2017]|usd 937.5 937.5 0
Hernan Burgos INV-1930 12/20/2017 12/30/2017]usd 200 200 0
David Moorse INV-1926 12/20/2017 12/30/2017]|usd 200 200 0
David Moorse INV-1917 12/20/2017 12/30/2017]|usd 200 200 0
Michael Comparato INV-1914 12/20/2017 12/30/2017 ]usd 1000 1000 0
| A Cheema INV-1912 12/20/2017 12/30/2017]|usd 200 200 0
Robyn Nathan INV-1908 12/20/2017 12/30/2017]|usd 1017 1017 0
Ese-Oghene Atiyota INV-1905 12/20/2017 12/30/2017]usd 400 400 0
Rachel Orzel INV-1999 12/21/2017 12/31/2017]|usd 5000 5000 0
Turf turfrey INV-1998 12/21/2017 12/31/2017]|usd 400 400 0
Rafee Uddeen INV-1997 12/21/2017 12/31/2017 ]|usd 200 200 0
Stanley Roberts, Sr. INV-1993 12/21/2017 12/31/2017 |usd 2500 2500 0

EX3137-011

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 12 of 19

samir abdulbaki INV-1990 12/21/2017 12/31/2017]|usd 1000 1000 0
Daniel Stine INV-1984 12/21/2017 12/31/2017|usd 200 200 0
Ronni Mancinelli INV-1981 12/21/2017 12/31/2017 |usd 200 200 0
Ellen Smith INV-1977 12/21/2017 12/31/2017]|usd 3000 3000 0
John INV-1973 12/21/2017 12/31/2017|usd 300 300 0
Greg INV-1967 12/21/2017 12/31/2017] usd 2000 2000 0
Asaf Tevet INV-1964 12/21/2017 12/31/2017]|usd 650 650 0
Valerio Meroi INV-1963 12/21/2017 12/31/2017 ]|usd 1875 1875 0
Jesus Bravo INV-2041 12/22/2017 1/1/2018} usd 200 200 0
Ali Zaidi INV-2036 12/22/2017 1/1/2018] usd 200 200 0
John Ristau INV-2031 12/22/2017 1/1/2018] usd 1250 1250 0
Harold Ofori INV-2030 12/22/2017 1/1/2018] usd 341.19 341.19 0
Adam Biles INV-2027 12/22/2017 1/1/2018] usd 1264 1264 0
Larsjohansen INV-2026 12/22/2017 1/1/2018] usd 200 200 0
William Ardolino INV-2024 12/22/2017 1/1/2018 ]usd 312.5 312.5 0
William Carl Martini INV-2011 12/22/2017 1/1/2018] usd 1050 1050 0
Remo Moruzzi INV-2007 12/22/2017 1/1/2018] usd 12500 12500 0
Brendan Biggs INV-2005 12/22/2017 1/1/2018] usd 1906 1906 0
Brett MawerA— Genera|INV-2082 12/23/2017 1/2/2018}usd 8200 8200 0
kalmer muul INV-2066 12/23/2017 1/2/2018] usd 200 200 0
Dinesh Ghevariya INV-2058 12/23/2017 1/2/2018]usd 11500 11500 0
Dipen Patel INV-2055 12/23/2017 1/2/2018] usd 500 500 0
Paul Brady INV-2046 12/23/2017 1/2/2018] usd 10000 10000 0
ron rose INV-2115 12/24/2017 1/3/2018] usd 200 200 0
Lori Simmons INV-2114 12/24/2017 1/3/2018] usd 218.75 218.75 0
Heath Watson INV-2110 12/24/2017 1/3/2018] usd 1562.5 1562.5 0
Paul Sutton INV-2106 12/24/2017 1/3/2018] usd 200 200 0
Loren Leamy INV-2103 12/24/2017 1/3/2018] usd 300 300 0
Bradley Leamy INV-2102 12/24/2017 1/3/2018]usd 1000 1000 0
Larry Findlay INV-2101 12/24/2017 1/3/2018] usd 200 200 0
Damien Dawson INV-2092 12/24/2017 1/3/2018] usd 625 625 0
Viladeth phosy INV-2089 12/24/2017 1/3/2018] usd 200 200 0
loubnan mouawad INV-2088 12/24/2017 1/3/2018]usd 1000 1000 0
Wankanok INV-2157 12/25/2017 1/4/2018] usd 1875 1875 0
Teja Gandi INV-2155 12/25/2017 1/4/2018] usd 300 300 0
Jason Roberts INV-2152 12/25/2017 1/4/2018] usd 300 300 0
Jason Kim INV-2151 12/25/2017 1/4/2018] usd 1500 1500 0
Janez Proprat INV-2142 12/25/2017 1/4/2018] usd 200 200 0
Harinarine jaggarnath —|INV-2140 12/25/2017 1/4/2018 |usd 200 200 0
Dimitrios Sarantinos INV-2136 12/25/2017 1/4/2018} usd 3880 3880 0
Balakrishnan INV-2207 12/26/2017 1/5/2018] usd 300 300 0
thanh N dong INV-2204 12/26/2017 1/5/2018] usd 1000 1000 0
Stuart Andrew INV-2202 12/26/2017 1/5/2018] usd 625 625 0
aaron m doerder INV-2200 12/26/2017 1/5/2018] usd 750 750 0
michael pruitt INV-2199 12/26/2017 1/5/2018] usd 300 300 0
Brandon Caldwell INV-2195 12/26/2017 1/5/2018] usd 1750 1750 0
John Chapman INV-2190 12/26/2017 1/5/2018} usd 514 514 0
John Chapman INV-2189 12/26/2017 1/5/2018] usd 500 500 0
Benjamin Ghrist INV-2185 12/26/2017 1/5/2018] usd 764 764 0

EX3137-012

Case 3:20-cr-00249-RS Document 675-6 Filed 06/06/25 Page 13 of 19

Dinesh Ghevariya INV-2182 12/26/2017 1/5/2018]|usd 15000 15000 0
ABID HUSSAIN INV-2179 12/26/2017 1/5/2018] usd 500 500 0
ali afsharnejad INV-2174 12/26/2017 1/5/2018]usd 350 350 0
phondara L ith INV-2173 12/26/2017 1/5/2018] usd 1200 1200 0
samir abdulbaki INV-2170 12/26/2017 1/5/2018] usd 1000 1000 0
Sydney Cutner INV-2249 12/27/2017 1/6/2018]usd 1250 1250 0
Robert Nieves INV-2243 12/27/2017 1/6/2018] usd 300 300 0
Parth Amin INV-2241 12/27/2017 1/6/2018] usd 300 300 0
Charles Rogener INV-2239 12/27/2017 1/6/2018] usd 500 500 0
Eugeniu INV-2230 12/27/2017 1/6/2018] usd 500 500 0
Anthony castellano INV-2228 12/27/2017 1/6/2018] usd 300 300 0
Amol Chavan INV-2227 12/27/2017 1/6/2018] usd 300 300 0
SHISHIR ROHATGI INV-2224 12/27/2017 1/6/2018]usd 1250 1250 0
FRANCES GUNNING INV-2223 12/27/2017 1/6/2018] usd 300 300 0
Robert Faulkner INV-2221 12/27/2017 1/6/2018] usd 300 300 0
Douglas Cornish INV-2219 12/27/2017 1/6/2018]usd 300 300 0
Deven INV-2218 12/27/2017 1/6/2018}usd 300 300 0
ingrid peters INV-2214 12/27/2017 1/6/2018] usd 300 300 0
Ari InkilAxinen INV-2213 12/27/2017 1/6/2018] usd 550 550 0
Cliff Marriott INV-2210 12/27/2017 1/6/2018] usd 500 500 0
Perri Kanterman INV-2288 12/28/2017 1/7/2018] usd 300 300 0
Todor Todorov INV-2282 12/28/2017 1/7/2018] usd 300 300 0
Anna INV-2278 12/28/2017 1/7/2018] usd 3500 3500 0
Metin Culcu INV-2277 12/28/2017 1/7/2018} usd 300 300 0
Darren Slape INV-2273 12/28/2017 1/7/2018] usd 500 500 0
Ari InkilAxinen INV-2271 12/28/2017 1/7/2018} usd 1000 1000 0
Traci Morin INV-2270 12/28/2017 1/7/2018} usd 300 300 0
Abdullah Aldulaigan INV-2262 12/28/2017 1/7/2018 |usd 1000 1000 0
Noor Aldeen Adeeb AmgINV-2258 12/28/2017 1/7/2018} usd 1000 1000 0
Samer Mawad INV-2327 12/29/2017 1/8/2018] usd 400 400 0
Stephen Jed INV-2326 12/29/2017 1/8/2018] usd 12500 12500 0
Aatif Luqman Zafar INV-2324 12/29/2017 1/8/2018] usd 300 300 0
Carla Bates INV-2321 12/29/2017 1/8/2018] usd 500 500 0
Donna Young INV-2319 12/29/2017 1/8/2018] usd 1250 1250 0
Charles Roylo INV-2317 12/29/2017 1/8/2018] usd 2000 2000 0
Jonathon Hoover INV-2316 12/29/2017 1/8/2018] usd 300 300 0
Nikolay Kabzamalov INV-2313 12/29/2017 1/8/2018 |usd 800 800 0
Johnny INV-2310 12/29/2017 1/8/2018] usd 450 450 0
Derek Kanterman INV-2307 12/29/2017 1/8/2018] usd 400 400 0
santiago rubino INV-2306 12/29/2017 1/8/2018] usd 400 400 0
Acelin Berthelot INV-2301 12/29/2017 1/8/2018] usd 781.25 781.25 0
Sukhchain Singh INV-2300 12/29/2017 1/8/2018 ]usd 2000 2000 0
Benjamin Ghrist INV-2299 12/29/2017 1/8/2018] usd 1264 1264 0
Gustavo Pajuelo INV-2362 12/30/2017 1/9/2018] usd 6250 6250 0
Jeyaprakash RamachandINV-2361 12/30/2017 1/9/2018} usd 1250 1250 0
Cheyenne Scarbrough _|INV-2358 12/30/2017 1/9/2018 ]usd 327 327 0
Vaughan Collins INV-2357 12/30/2017 1/9/2018]usd 625 625 0
Shehzad hussain INV-2351 12/30/2017 1/9/2018] usd 625 625 0
Randy Wolfswinkel INV-2347 12/30/2017 1/9/2018] usd 312.5 312.5 0

EX3137-013

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 14 of 19

Ravi Kansara INV-2341 12/30/2017 1/9/2018] usd 1000 1000 0
Kucinski INV-2339 12/30/2017 1/9/2018] usd 1000 1000 0
Balazs Hamori INV-2333 12/30/2017 1/9/2018} usd 300 300 0
Dale C. Laubach INV-2399 12/31/2017 1/10/2018]usd 312 312 0
Allyson Bell INV-2398 12/31/2017 1/10/2018]usd 1000 1000 0
Joao Nagamine INV-2387 12/31/2017 1/10/2018]usd 5000 5000 0
Elisha Mizrahi INV-2386 12/31/2017 1/10/2018]usd 500 500 0
Marco Bozzi INV-2379 12/31/2017 1/10/2018]usd 300 300 0
TAE HWANG INV-2374 12/31/2017 1/10/2018]usd 4981.25} 4981.25 0
Fawaz Alsomol INV-2369 12/31/2017 1/10/2018]usd 1870 1870 0
gurmeet singh INV-2368 12/31/2017 1/10/2018]usd 300 300 0
Ezekiel Euscher INV-2366 12/31/2017 1/10/2018] usd 300 300 0
Lee Dickerson INV-2441 1/1/2018 1/11/2018]usd 300 300 0
Edward Leonaldo TagnipINV-2439 1/1/2018 1/11/2018]usd 400 400 0
Chris Kechagias INV-2433 1/1/2018 1/11/2018]usd 1250 1250 0
Donald Price INV-2432 1/1/2018 1/11/2018]usd 300 300 0
Jean Celestin INV-2430 1/1/2018 1/11/2018]usd 300 300 0
Dillip Subramani INV-2429 1/1/2018 1/11/2018]usd 2000 2000 0
Auday Alsabak INV-2427 1/1/2018 1/11/2018]usd 1200 1200 0
Clifford Cole INV-2426 1/1/2018 1/11/2018]usd 400 400 0
Jerry peters INV-2423 1/1/2018 1/11/2018]usd 500 500 0
Mohamad Abdul Baki {INV-2422 1/1/2018 1/11/2018] usd 1000 1000 0
Allyson Bell INV-2416 1/1/2018 1/11/2018]usd 500 500 0
David Roberts INV-2415 1/1/2018 1/11/2018]usd 312.5 312.5 0
Bassam Tabcharany INV-2414 1/1/2018 1/11/2018] usd 5000 5000 0
Neo Sai Meng INV-2410 1/1/2018 1/11/2018]usd 375 375 0
Derek Caussin INV-2406 1/1/2018 1/11/2018]usd 5000 5000 0
Emmanuel Anyaegbuna |INV-2404 1/1/2018 1/11/2018]usd 300 300 0
Brian Wilson INV-2478 1/2/2018 1/12/2018]usd 500 500 0
Raul Ortiz INV-2477 1/2/2018 1/12/2018]usd 750 750 0
Stanley Roberts INV-2475 1/2/2018 1/12/2018]usd 300 300 0
Rohan Dammar INV-2473 1/2/2018 1/12/2018] usd 350 350 0
Everett Roberts INV-2472 1/2/2018 1/12/2018]usd 10625 10625 0
ANTONINO dONNABELLAINV-2471 1/2/2018 1/12/2018]usd 300 300 0
henry INV-2467 1/2/2018 1/12/2018]usd 300 300 0
Saeed INV-2463 1/2/2018 1/12/2018]usd 1000 1000 0
Jack R Maple INV-2460 1/2/2018 1/12/2018]usd 300 300 0
George Hensley II INV-2458 1/2/2018 1/12/2018] usd 2000 2000 0
TAE HWANG INV-2457 1/2/2018 1/12/2018]usd 4985 4985 0
Sidney Ogles INV-2456 1/2/2018 1/12/2018]usd 1250 1250 0
Daniel Vuong INV-2452 1/2/2018 1/12/2018]usd 312.5 312.5 0
fady aad INV-2449 1/2/2018 1/12/2018] usd 3500 3500 0
Ahmad Issa INV-2447 1/2/2018 1/12/2018]usd 1000 1000 0
Minsuk kwon INV-2443 1/2/2018 1/12/2018]usd 500 500 0
KHALED AHMAD FAHAD]INV-2538 1/3/2018 1/13/2018]usd 1000 1000 0
Daniel Varghese INV-2536 1/3/2018 1/13/2018]usd 10000 10000 0
Lora Linda Benavides —_|INV-2533 1/3/2018 1/13/2018]usd 2500 2500 0
Christina tran INV-2530 1/3/2018 1/13/2018]usd 2000 2000 0
Ken Johnson INV-2528 1/3/2018 1/13/2018]usd 625 625 0

EX3137-014

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 15 of 19

Jose Santiago Gutierrez |INV-2524 1/3/2018 1/13/2018]usd 5000 5000 0
Dennis Piedra INV-2521 1/3/2018 1/13/2018] usd 300 300 0
Dan Post INV-2516 1/3/2018 1/13/2018]usd 1300 1300 0
Raphael Thorpe INV-2514 1/3/2018 1/13/2018]usd 1250 1250 0
Donald Price INV-2510 1/3/2018 1/13/2018] usd 700 700 0
Steve INV-2509 1/3/2018 1/13/2018]usd 300 300 0
George Hensley II INV-2506 1/3/2018 1/13/2018] usd 6000 6000 0
Ari InkilAxinen INV-2504 1/3/2018 1/13/2018] usd 400 400 0
Gabriel Calvo INV-2500 1/3/2018 1/13/2018]usd 1000 1000 0
Raul Torres INV-2499 1/3/2018 1/13/2018]usd 1250 1250 0
Chris Brown INV-2498 1/3/2018 1/13/2018]usd 300 300 0
Douglas Smith INV-2497 1/3/2018 1/13/2018] usd 300 300 0
Diana Donaghy INV-2496 1/3/2018 1/13/2018]usd 437.5 437.5 0
Harinder Singh INV-2494 1/3/2018 1/13/2018]usd 300 300 0
Nicoreta Cruz INV-2493 1/3/2018 1/13/2018] usd 500 500 0
Yair Halachmi INV-2599 1/4/2018 1/14/2018]usd 1430 1430 0
Gordon VaughnCooke | INV-2598 1/4/2018 1/14/2018]usd 30000 30000 0
Calvin P Border INV-2591 1/4/2018 1/14/2018]usd 1000 1000 0
Kaysha virasawmi INV-2590 1/4/2018 1/14/2018] usd 1000 1000 0
stephan | wilhoite INV-2589 1/4/2018 1/14/2018]usd 500 500 0
Stanley Roberts, Sr. INV-2587 1/4/2018 1/14/2018]usd 300 300 0
Billy Noordin INV-2585 1/4/2018 1/14/2018] usd 625 625 0
Tara Bonneville INV-2583 1/4/2018 1/14/2018]usd 5000 5000 0
radu man INV-2582 1/4/2018 1/14/2018]usd 1600 1600 0
Margaret Lovell INV-2581 1/4/2018 1/14/2018] usd 300 300 0
Peter Killick INV-2578 1/4/2018 1/14/2018]usd 300 300 0
Eric Bonnette INV-2568 1/4/2018 1/14/2018]usd 500 500 0
jun Zhang INV-2564 1/4/2018 1/14/2018] usd 1250 1250 0
George Pemberton INV-2563 1/4/2018 1/14/2018]usd 6250 6250 0
Rules Developer INV-2560 1/4/2018 1/14/2018] usd 1000 1000 0
Wahid INV-2559 1/4/2018 1/14/2018]usd 625 625 0
Yousef Bader Ali Alwazz4INV-2557 1/4/2018 1/14/2018]usd 300 300 0
David Omai INV-2556 1/4/2018 1/14/2018]usd 625 625 0
mohamed abdulgany _ |INV-2552 1/4/2018 1/14/2018]usd 300 300 0
Omar Y K Alshaikhali INV-2549 1/4/2018 1/14/2018 ]usd 408.4 408.4 0
Grant Henderson INV-2548 1/4/2018 1/14/2018] usd 400 400 0
Michael Huemer INV-2547 1/4/2018 1/14/2018]usd 1125 1125 0
Remo Moruzzi INV-2544 1/4/2018 1/14/2018] usd 20250 20250 0
Bruce Park INV-2542 1/4/2018 1/14/2018]usd 300 300 0
Ranie INV-2539 1/4/2018 1/14/2018]usd 312.5 312.5 0
Tristan Owen INV-2665 1/5/2018 1/15/2018]usd 300 300 0
Richard Christopher Joh INV-2664 1/5/2018 1/15/2018]usd 300 300 0
Rosamma George INV-2654 1/5/2018 1/15/2018]usd 306.25 306.25 0
Roy Allen E. Bihag INV-2648 1/5/2018 1/15/2018]usd 300 300 0
lior talbi INV-2647 1/5/2018 1/15/2018] usd 3500 3500 0
Leila H Caro INV-2646 1/5/2018 1/15/2018]usd 625 625 0
Prashanth Reddy KethirgINV-2645 1/5/2018 1/15/2018]usd 2000 2000 0
Ruben Yu INV-2644 1/5/2018 1/15/2018]usd 1250 1250 0
Susumu Blackwolf INV-2643 1/5/2018 1/15/2018] usd 300 300 0

EX3137-015

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 16 of 19

Nadir Khan INV-2639 1/5/2018 1/15/2018]usd 312.5 312.5 0
Lee dong chul INV-2637 1/5/2018 1/15/2018] usd 20000 20000 0
Paula Brown INV-2635 1/5/2018 1/15/2018]usd 350 350 0
Michael sunkin INV-2633 1/5/2018 1/15/2018]usd 300 300 0
Mike INV-2624 1/5/2018 1/15/2018]usd 1300 1300 0
TAE HWANG INV-2622 1/5/2018 1/15/2018]usd 4000 4000 0
eunsakim INV-2620 1/5/2018 1/15/2018]usd 500 500 0
Bernard INV-2615 1/5/2018 1/15/2018]usd 312.5 312.5 0
Jose Alejandro Diaz Jime}INV-2611 1/5/2018 1/15/2018]usd 750 750 0
tomislav nemet INV-2607 1/5/2018 1/15/2018] usd 500 500 0
skang INV-2606 1/5/2018 1/15/2018]usd 333 333 0
Abel Timothy Wood INV-2601 1/5/2018 1/15/2018] usd 500 500 0
valentes shedden fernan|INV-2600 1/5/2018 1/15/2018]usd 1250 1250 0
SYED AKHTAR INV-2736 1/6/2018 1/16/2018]usd 1250 1250 0
Mageshvaren Gounden |INV-2732 1/6/2018 1/16/2018]usd 375 375 0
Mageshvaren Gounden |INV-2728 1/6/2018 1/16/2018] usd 350 350 0
Cristina Gascon INV-2726 1/6/2018 1/16/2018]usd 2050 2050 0
CHUA CHUNG CHEE INV-2724 1/6/2018 1/16/2018]usd 750 750 0
Phil Prestidge INV-2721 1/6/2018 1/16/2018]usd 312.5 312.5 0
Jessica Butler INV-2713 1/6/2018 1/16/2018]usd 2000 2000 0
David Fineberg INV-2712 1/6/2018 1/16/2018]usd 2500 2500 0
AML Support INV-2711 1/6/2018 1/16/2018] usd 300 300 0
Craig Eden INV-2709 1/6/2018 1/16/2018]usd 1250 1250 0
Nicolo Mascitti INV-2706 1/6/2018 1/16/2018]usd 500 500 0
Venkateswara Rao Pang{INV-2698 1/6/2018 1/16/2018]usd 1800 1800 0
CHUA CHUNG CHEE INV-2696 1/6/2018 1/16/2018]usd 400 400 0
Pervez Asli INV-2693 1/6/2018 1/16/2018]usd 500 500 0
Melanie J. Whelan INV-2691 1/6/2018 1/16/2018] usd 400 400 0
Ludovic INV-2690 1/6/2018 1/16/2018]usd 9000 9000 0
Gerald Ross INV-2686 1/6/2018 1/16/2018]usd 2000 2000 0
George INV-2684 1/6/2018 1/16/2018]usd 300 300 0
Pelligrino Bruno INV-2679 1/6/2018 1/16/2018] usd 500 500 0
David N. Starr INV-2678 1/6/2018 1/16/2018]usd 625 625 0
Brian Wilson INV-2677 1/6/2018 1/16/2018]usd 500 500 0
Victor Graham (ATF V&RIINV-2826 1/7/2018 1/17/2018]usd 300 300 0
John Nichols INV-2822 1/7/2018 1/17/2018]usd 625 625 0
joseph thomas INV-2820 1/7/2018 1/17/2018]usd 500 500 0
Lisa Tippett INV-2819 1/7/2018 1/17/2018]usd 1875 1875 0
Stephen Busuttil INV-2818 1/7/2018 1/17/2018]usd 300 300 0
Alexandra Lebedeff INV-2815 1/7/2018 1/17/2018]usd 350 350 0
Ben INV-2814 1/7/2018 1/17/2018]usd 1000 1000 0
Aaron Spiegel INV-2811 1/7/2018 1/17/2018} usd 300 300 0
Evangeline Tesoro INV-2810 1/7/2018 1/17/2018] usd 350 350 0
Leonard Bloch INV-2809 1/7/2018 1/17/2018]usd 500 500 0
Raj Parajuli INV-2808 1/7/2018 1/17/2018} usd 1250 1250 0
sona yeznaian INV-2805 1/7/2018 1/17/2018} usd 350 350 0
Elizabeth Ruiz INV-2804 1/7/2018 1/17/2018]usd 500 500 0
Arunachalam Kallal Som|INV-2801 1/7/2018 1/17/2018]usd 500 500 0
Shane Alfonso INV-2794 1/7/2018 1/17/2018]usd 15000 15000 0

EX3137-016

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 17 of 19

Andrew Massoud INV-2789 1/7/2018 1/17/2018]usd 1250 1250 0
Carolyn Shimwell INV-2788 1/7/2018 1/17/2018] usd 300 300 0
Daniel Gidez INV-2787 1/7/2018 1/17/2018]usd 750 750 0
Steven Sohal INV-2783 1/7/2018 1/17/2018]usd 312.5 312.5 0
Quinton van Reede van qINV-2781 1/7/2018 1/17/2018]usd 300 300 0
Leslie Schee INV-2779 1/7/2018 1/17/2018]usd 1500 1500 0
Sam Sobania INV-2775 1/7/2018 1/17/2018]usd 15625 15625 0
Tharaka Abeysinghe INV-2773 1/7/2018 1/17/2018]usd 630 630 0
Jon Barnicoat INV-2771 1/7/2018 1/17/2018]usd 500 500 0
Donald Compton INV-2758 1/7/2018 1/17/2018]usd 350 350 0
IUJIOO KIM INV-2757 1/7/2018 1/17/2018|usd 1200 1200 0
Christopher INV-2753 1/7/2018 1/17/2018} usd 1000 1000 0
toshiko kawabe INV-2749 1/7/2018 1/17/2018]usd 600 600 0
Marek Adam Wlodarski |INV-2746 1/7/2018 1/17/2018]usd 300 300 0
Balazs Hamori INV-2745 1/7/2018 1/17/2018] usd 2200 2200 0
Elisha Mizrahi INV-2743 1/7/2018 1/17/2018]usd 700 700 0
Diana Donaghy INV-2742 1/7/2018 1/17/2018]usd 375 375 0
Rogerio silva INV-2741 1/7/2018 1/17/2018] usd 1250 1250 0
Giuseppe INV-2740 1/7/2018 1/17/2018]usd 300 300 0
Margherita Lizzi INV-2738 1/7/2018 1/17/2018]usd 1500 1500 0
Ava Comissiong INV-3950 1/18/2018 1/28/2018]usd 300 300 0
Radames Vazquez Jr INV-3947 1/18/2018 1/28/2018] usd 300 300 0
Marek Wojtowicz INV-3945 1/18/2018 1/28/2018]usd 500 500 0
KIM HYUNG JUN INV-3943 1/18/2018 1/28/2018|usd 300 300 0
Patrick Ferguson INV-3942 1/18/2018 1/28/2018] usd 617 617 0
GORDAN JANACEAN INV-3939 1/18/2018 1/28/2018]usd 3000 3000 0
Luca Giannone INV-3938 1/18/2018 1/28/2018]usd 300 300 0
futsum G woldemariam |INV-3937 1/18/2018 1/28/2018]|usd 300 300 0
Gyorgy Dobo INV-3935 1/18/2018 1/28/2018]usd 500 500 0
Andrew Cooper INV-3933 1/18/2018 1/28/2018]usd 350 350 0
Sasha Todorovic INV-3930 1/18/2018 1/28/2018]usd 1500 1500 0
Raul Narvasa INV-3928 1/18/2018 1/28/2018] usd 1500 1500 0
wullie carson INV-3925 1/18/2018 1/28/2018] usd 300 300 0
Amanda Rogers INV-3924 1/18/2018 1/28/2018]usd 300 300 0
Christina Chwala INV-3921 1/18/2018 1/28/2018]usd 300 300 0
Brian S Smith INV-3916 1/18/2018 1/28/2018]usd 500 500 0
Lyneah Cole INV-3914 1/18/2018 1/28/2018]usd 300 300 0
Sadguna INV-3904 1/18/2018 1/28/2018]usd 500 500 0
Samuel Alin Pancu INV-3902 1/18/2018 1/28/2018]usd 1975 1975 0
Jon INV-3891 1/18/2018 1/28/2018|usd 300 300 0
Jeroen Dubach INV-3890 1/18/2018 1/28/2018]usd 1200 1200 0
Russ Lujan INV-3889 1/18/2018 1/28/2018]usd 750 750 0
Allan yu INV-3886 1/18/2018 1/28/2018]usd 1500 1500 0
Jasen Raboin INV-4015 1/19/2018 1/29/2018]usd 1750 1750 0
Nabin k karki INV-4014 1/19/2018 1/29/2018] usd 300 300 0
guillem INV-4012 1/19/2018 1/29/2018]usd 300 300 0
Tibor Okros INV-4003 1/19/2018 1/29/2018]usd 500 500 0
Jason Macey INV-4001 1/19/2018 1/29/2018] usd 750 750 0
Ana Roberts INV-3997 1/19/2018 1/29/2018]usd 375 375 0

EX3137-017

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 18 of 19

BMB INV-3989 1/19/2018 1/29/2018]usd 300 300 0
Anthony t Drummond __|INV-3987 1/19/2018 1/29/2018]usd 300 300 0
Lawrence K Goodman __|INV-3984 1/19/2018 1/29/2018] usd 1000 1000 0
Roland Kovacs INV-3979 1/19/2018 1/29/2018]usd 500 500 0
Harinath Vobblisetty INV-3978 1/19/2018 1/29/2018 ]usd 2250 2250 0
Andor Pasztor INV-3974 1/19/2018 1/29/2018|usd 300 300 0
Harold Ofori INV-3973 1/19/2018 1/29/2018]usd 855 855 0
mark creedon INV-3957 1/19/2018 1/29/2018] usd 1500 1500 0
Wim van Rijswijk INV-3952 1/19/2018 1/29/2018|usd 5400 5400 0
Lloyd Cooke INV-4084 1/20/2018 1/30/2018]usd 300 300 0
Baron August INV-4083 1/20/2018 1/30/2018]usd 9000 9000 0
Carole Bone INV-4071 1/20/2018 1/30/2018] usd 1500 1500 0
Lyndrey Holder INV-4066 1/20/2018 1/30/2018]usd 300 300 0
Curtis INV-4064 1/20/2018 1/30/2018]usd 300 300 0
Laura Morgan INV-4059 1/20/2018 1/30/2018]usd 750 750 0
Sunmeet S Sawhney INV-4052 1/20/2018 1/30/2018]usd 2000 2000 0
Lawrence K Goodman __|INV-4047 1/20/2018 1/30/2018] usd 525 525 0
Gepkens INV-4037 1/20/2018 1/30/2018]usd 1125 1125 0
Andy INV-4032 1/20/2018 1/30/2018]usd 750 750 0
Erik Brustad INV-4029 1/20/2018 1/30/2018]usd 1000 1000 0
Paul Woodward INV-4027 1/20/2018 1/30/2018]usd 414 414 0
Jeffrey Holley INV-4025 1/20/2018 1/30/2018] usd 300 300 0
Julie Singer INV-4128 1/21/2018 1/31/2018]usd 500 500 0
Roshrosh INV-4125 1/21/2018 1/31/2018]usd 1500 1500 0
peter north INV-4124 1/21/2018 1/31/2018] usd 450 450 0
Andras Tardy INV-4114 1/21/2018 1/31/2018]usd 310 310 0
Antonio Escano INV-4108 1/21/2018 1/31/2018]usd 300 300 0
Kimberly Westberry INV-4107 1/21/2018 1/31/2018]usd 487.5 487.5 0
Emma Mae INV-4099 1/21/2018 1/31/2018]usd 1500 1500 0
Andrea Davidson INV-4097 1/21/2018 1/31/2018]usd 4500 4500 0
Ivan Franic INV-4096 1/21/2018 1/31/2018]usd 450 450 0
Carlos Carruego INV-4092 1/21/2018 1/31/2018 ]usd 300 300 0
Peter Leow INV-4088 1/21/2018 1/31/2018]usd 300 300 0
rajeh gharzeddine INV-4087 1/21/2018 1/31/2018]usd 3000 3000 0
Roshrosh INV-4179 1/22/2018 2/1/2018] usd 10500 10500 0
Arbi rusi INV-4175 1/22/2018 2/1/2018] usd 500 500 0
Edward Leonaldo TagnipINV-4171 1/22/2018 2/1/2018] usd 800 800 0
Prashant Raj Poudel INV-4170 1/22/2018 2/1/2018 |usd 1500 1500 0
Dylan Razzagone INV-4167 1/22/2018 2/1/2018]usd 300 300 0
Albert Tan Kim Seng INV-4165 1/22/2018 2/1/2018]usd 3000 3000 0
Venkataraman SivasankdINV-4157 1/22/2018 2/1/2018] usd 300 300 0
Chadi Awad INV-4154 1/22/2018 2/1/2018] usd 2100 2100 0
Ovsep Kolsuzyan INV-4151 1/22/2018 2/1/2018 |usd 300 300 0
jeffrey bariel INV-4148 1/22/2018 2/1/2018] usd 1000 1000 0
CHUA CHUNG CHEE INV-4147 1/22/2018 2/1/2018 |usd 870 870 0
Uffizi AS INV-4145 1/22/2018 2/1/2018] usd 5300 5300 0
Chung Kwong Yuew INV-4140 1/22/2018 2/1/2018 |usd 3000 3000 0
GORDAN JANACEAN INV-4139 1/22/2018 2/1/2018] usd 6000 6000 0
chin boon aun INV-4137 1/22/2018 2/1/2018] usd 500 500 0

EX3137-018

Case 3:20-cr-00249-RS Document 675-6

Filed 06/06/25

Page 19 of 19

Don knudslien INV-4213 1/23/2018 2/2/2018]usd 8000 8000 0
Clinton Langford INV-4211 1/23/2018 2/2/2018]usd 300 300 0
Apriady laurence INV-4206 1/23/2018 2/2/2018]|usd 592 592 0
John Rice INV-4203 1/23/2018 2/2/2018] usd 10000 10000 0
Ezrael Escarez INV-4196 1/23/2018 2/2/2018] usd 500 500 0
PIERRE V VERROYE INV-4184 1/23/2018 2/2/2018 ]usd 4500 4500 0
Eugene Harrison INV-4180 1/23/2018 2/2/2018] usd 2500 2500 0
Amarjit Singh INV-4255 1/24/2018 2/3/2018]usd 750 750 0
Rey Soriano INV-4250 1/24/2018 2/3/2018]usd 400 400 0
Nicoreta Cruz INV-4240 1/24/2018 2/3/2018] usd 600 600 0
Shane williamson INV-4237 1/24/2018 2/3/2018]usd 300 300 0
CHAD CARLSON INV-4236 1/24/2018 2/3/2018]usd 300 300 0
Rayapa Reddy Gopu INV-4234 1/24/2018 2/3/2018|usd 500 500 0
Arnel G. Pelayo INV-4233 1/24/2018 2/3/2018]usd 2202 2202 0
RYAN WHITE INV-4279 1/25/2018 2/4/2018] usd 1500 1500 0
Romeo Vinas INV-4278 1/25/2018 2/4/2018]usd 375 375 0
Duey INV-4273 1/25/2018 2/4/2018] usd 500 500 0
Maurice James Toal INV-4270 1/25/2018 2/4/2018 ]usd 1500 1500 0
Russ Lujan INV-4262 1/25/2018 2/4/2018]usd 750 750 0

EX3137-019

